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                                                                                                                             FILED
     'b.AQ 245D (CASD) (Rev. Sill) Judgment in a Criminal Case for Revocations
                  Sheet 1                                                                                                    SEP 0 6 2016
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                                                                                                                   v'iT,I:.~;";;:'       ,,-      -DEPUTY
                                              UNITED STATES DISTRICT Comt! l'o(ylX.
                                                                               -.-.
                                                    SOUTHERN DISTRICT OF CALIFORNIA

                     UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                         V.                                      (For Revocation of Probation or Supervised Release)
                              MARIO CERDA                                        (For Offenses Committed On or After November I, 1987)


                                                                                  Case Number: lICR0609-BTM

                                                                                  ARON ISRAELITE, FEDERAL DEFENDERS, INC.
                                                                                 Defendant's Attorney
    REGISTRA nON No. 23303298
o   THE DEFENDANT:
     IX!admitted guilt to violation ofallegation(s) No ...:2,,-3::...._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe foHowing allegation(s):


    Allegation Number                        Nature of Violation
              2               Use of alcohol
              3               Unlawful use of controlled substance (nv3)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                  4       ofthis judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notiJY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notiJY the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                 SEPTEMBER 2, 2016
                                                                                 Date of Imposition of Sentence




                                                                                 HON. B            Y         MOSKOWITZ
                                                                                 UNITED STATES DISTRICT JUDGE




                                                                                                                                      11 CR0609-BTM
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    AD 245B      (Rev. 9/00) Judgment in Criminal Case
                 Sheet 2 - Imprisonment

                                                                                                   Judgment-Page _ _2_ of      _-,,4_ _
    DEFENDANT: MARIO CERDA
    CASE NUMBER: IICR0609-BTM
                                                                 IMPRISONMENT

              The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
              NINE (9) MONTHS.


                                                                                                  B RRY TED MOSKOWIT
       [!] The court makes the following recommendations to the Bureau of Prisons:                UNITED STATES DISTRI




       D The defendant is remanded to the custody of the United States Marshal.
       D The defendant shall surrender to the United States Marshal for this district:
                Oat                                      Do·m.    []p.m.     on
                    as notified by the United States Marshal.

       OThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               o before ---------------------------------------------
               D    as notified by the United States Marshal.
               o as notified by the Probation or Pretrial Services Office.
                                                                    RETURN
    I have executed this judgment as follows:

              Defendant delivered on                                                 to

    at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                           By _______~~~~~~~~~---------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                          lICR0609-BTM
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AO 245D (CASD) (Rev. 8/11) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                              Judgment Page        3      of        4
DEFENDANT: MARIO CERDA                                                                                a
CASE NUMBER: llCR0609-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
EIGHTEEN (18) MONTHS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imrrisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission 0 more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ---

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shal1 report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                       llCR0609-BTM
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          AO 245B    (Rev. 9/00) Judgment in a Criminal Case
                     Sheel4 Special Conditions
                                                                                                           Judgment Page   ----=L.- of      4
          DEFENDANT: MARIO CERDA                                                                      II
          CASE NUMBER: llCR0609-BTM




                                                 SPECIAL CONDITIONS OF SUPERVISION
181   Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
      a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
      a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.
181 Participate in a program of drug and alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and I to 8
      counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
~ Not possess any narcotic drug or controlled substance without a lawful medical prescription, under Federal Law.
I8I Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
      report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
      consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o The defendant shall not discontinue mental health medication without written permission of his Doctor.
o     Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120      days commencing upon release.
      This is a non-punitive placement. This condition terminates upon entry into a residential drug treatment program.
~     Seek and maintain full time employment and/or schooling or a combination of both.
181 Abstain from all use of Alcohol.
~ Complete a Domestic Violence Program as directed by the Probation Officer within 18 months of release.
o     The defendant shall complete the "Volunteers of America" detox program.
I8I Not associate with persons that the defendant knows to a member or an associate of a gang.
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
      reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
      of supervision are suspended while the defendant is out ofthe United States after deportation, exclusion, or voluntary departure.




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